   Case 4:14-cv-01698 Document 1459-8 Filed on 09/05/19 in TXSD Page 1 of 4



                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION
KEITH COLE, JACKIE BRANNUM, RICHARD            §
KING, MICHAEL DENTON, FRED WALLACE,            §
and MARVIN RAY YATES, individually and on      §
behalf of those similarly situated,            §   CIVIL ACTION NO.
                                               §      4:14-cv-1698
                      Plaintiffs,              §
                                               §
v.                                             §
                                               §
BRYAN COLLIER, in his official capacity,       §
ROBERTO HERRERA, in his official capacity, and §
TEXAS DEPARTMENT OF CRIMINAL JUSTICE, §
                                               §
                      Defendants.              §

    PLAINTIFFS’ MOTION FOR CONTEMPT, TO SHOW CAUSE & SANCTIONS



                                 Exhibit 9
                  1st Declaration of R. Anderson
Case 4:14-cv-01698 Document 1459-8 Filed on 09/05/19 in TXSD Page 2 of 4
Case 4:14-cv-01698 Document 1459-8 Filed on 09/05/19 in TXSD Page 3 of 4
Case 4:14-cv-01698 Document 1459-8 Filed on 09/05/19 in TXSD Page 4 of 4
